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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                          )
COMMITTEE ON THE JUDICIARY,               )
UNITED STATES HOUSE OF                    )
REPRESENTATIVES,                          )
                                          )
              Plaintiff,                  )
                                          )
              v.                          )      Civ. No. 19-cv-2379 (KBJ)
                                          )
DONALD F. MCGAHN II,                      )
                                          )
              Defendant.                  )
                                          )

               GENERAL ORDER AND GUIDELINES REGARDING
                   MOTIONS FOR A PRELIMINARY INJUNCTION

       On August 26, 2019, plaintiff Committee on the Judiciary of the U.S. House of

Representatives filed a motion in this matter seeking entry of a preliminary injunction,

or alternatively, expedited partial summary judgment (“Preliminary Injunction

Motion”). (ECF No. 22.) In order to ensure the efficient and expeditious resolution of

this motion, and to conserve this Court’s and the parties’ resources, it is hereby

       ORDERED that each party deliver to Chambers (not the Clerk’s Office) two

courtesy copies of its pleadings in this matter and any briefing associated with the

Preliminary Injunction Motion. All courtesy copies must be double-sided and three-

hole punched, and any exhibits thereto must be tabbed for ease of reference. It is

       FURTHER ORDERED that if any parallel litigation is pending, the parties shall

keep the Court fully apprised of the status of such ligation, including notifying the
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Court within 24 hours whenever a document is filed, a hearing is held or scheduled, or

an order is issued in that litigation. Finally, it is

       FURTHER ORDERED that Defendant’s obligation to respond to the complaint

shall be suspended during the Court’s consideration of the merits of the Preliminary

Injunction Motion. Defendant must answer or otherwise respond to the Complaint

within 14 days after the Court issues its order on the Preliminary Injunction Motion.


DATE: August 28, 2019                       Ketanji Brown Jackson
                                            KETANJI BROWN JACKSON
                                            United States District Judge




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